                  Case 2:13-cv-00091-RSM Document 34 Filed 03/13/13 Page 1 of 8




 1                                                     THE HONORABLE RICARDO S. MARTINEZ
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13                                     UNITED STATES DISTRICT COURT
14                                    WESTERN DISTRICT OF WASHINGTON
15                                              AT SEATTLE
16
17
18   KLAUS ASSION, Derivatively on Behalf              No. CV 13-00091 RSM
19   of ZILLOW, INC.,
20                                                     STIPULATION AND ORDER
21                                Plaintiff,           REGARDING STAY OF PROCEEDINGS
22                                                     AND RELATED MATTERS
23           v.
24
25   SPENCER M. RASCOFF, CHAD M.
26   COHEN, RICHARD N. BARTON,
27   LLOYD D. FRINK, DAVID A. BEITEL,
28   GREG M. SCHWARTZ, GREGORY B.
29   MAFFEI, ERIK BLACHFORD,
30   GORDON STEPHENSON, J. WILLIAM
31   GURLEY, and JAY C. HOAG,
32
33                                Defendants,
34
35           and
36
37   ZILLOW, INC., a Washington corporation,
38
39                                Nominal Defendant.
40
41
42
43           IT IS HEREBY STIPULATED AND AGREED, BY AND BETWEEN plaintiff Klaus
44
45   Assion ("Plaintiff"), and individual defendants Spencer M. Rascoff, Chad M. Cohen, Richard N.
46
47   Barton, Lloyd D. Frink, David A. Beitel, Greg M. Schwartz, Gregory B. Maffei, Erik Blachford,
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49   Gordon Stephenson, J. William Gurley, and Jay C. Hoag ("Individual Defendants"), and nominal
50
51
     STIPULATION AND ORDER REGARDING STAY
     OF PROCEEDINGS AND RELATED MATTERS (No.
     CV 13-00091 RSM) – 1

     56920-0142/LEGAL26003191.1
                Case 2:13-cv-00091-RSM Document 34 Filed 03/13/13 Page 2 of 8




 1
 2   defendant Zillow, Inc. ("Zillow" or the "Company" and, collectively with the Individual
 3
 4   Defendants, the "Defendants"), by and through their undersigned counsel, as follows:
 5
 6           WHEREAS, on January 15, 2013, Plaintiff filed the Verified Shareholder Derivative
 7
 8   Complaint ("Complaint") in this Court, asserting claims against the Individual Defendants on
 9
10   behalf of nominal defendant Zillow (the "Action");
11
12           WHEREAS, on January 29, 2013, Plaintiff filed a Notice of Related Case, stating that the
13
14   Action may be related to a factually-similar federal securities fraud class action, Reinschmidt v.
15
16   Zillow, Inc., et al., No. 12-02084 RSM (the "Securities Action"), which is pending in this District
17
18   before the Honorable Ricardo S. Martinez;
19
20           WHEREAS, by minute order dated January 31, 2013, the Action was transferred from
21
22   Judge Coughenour to Judge Martinez;
23
24           WHEREAS, by stipulated order dated January 8, 2013, the court in the Securities Action
25
26   stayed discovery, pursuant to the Private Securities Litigation Reform Act of 1995, codified at 15
27
28   U.S.C. § 78u-4(b)(3)(B) (2009), until after the selection of lead plaintiff, the appointment of lead
29
30   counsel, the filing of an amended and consolidated complaint, and the resolution of the
31
32   defendants' motion to dismiss in the Securities Action;
33
34           WHEREAS, Plaintiff believes that the allegations in the Action are not dependent on the
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36   allegations in the Securities Action, but the parties in the Action agree that the ruling on the
37
38   motion to dismiss the Securities Action may help inform the manner in which the Action
39
40   proceeds;
41
42           WHEREAS, the parties therefore agree that the interests of efficient and effective case
43
44   management would best be served by: (1) deferring all proceedings and continuing all response
45
46   dates in the Action until (a) thirty (30) days after the Securities Action is dismissed in its entirety
47
48   with prejudice, (b) thirty (30) days after the Court issues an order denying in any part the
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50   defendants' motion to dismiss the Securities Action, or (c) such other time as the Court shall
51
     STIPULATION AND ORDER REGARDING STAY
     OF PROCEEDINGS AND RELATED MATTERS
     (No. CV 13-00091 RSM) – 2
     56920-0142/LEGAL26003191.1
                Case 2:13-cv-00091-RSM Document 34 Filed 03/13/13 Page 3 of 8




 1
 2   order; and (2) by sharing certain discovery generated in the Securities Action, if any, with
 3
 4   Plaintiff in the Action pursuant to the terms set forth herein;
 5
 6           WHEREAS, the parties agree that documents and information, if any, obtained pursuant
 7
 8   to this Stipulation shall not be used by Plaintiff to supplement Plaintiff's allegations of demand
 9
10   futility or used by Plaintiff in any way in connection with his opposition to any motion to
11
12   dismiss, including but not limited to any motion to dismiss for failure to make a pre-suit demand,
13
14   absent an order of the Court permitting such use. Defendants reserve their right to oppose any
15
16   motion for an order permitting Plaintiff to use information developed in discovery to supplement
17
18   his demand futility allegations or to oppose any motion to dismiss. Plaintiff agrees not to use the
19
20   existence of this Stipulation, the substance of any documents or discovery produced pursuant to
21
22   this Stipulation, and/or any documents or information obtained or developed as a result of any
23
24   documents or discovery produced pursuant to this Stipulation as support for any argument that
25
26   Plaintiff is otherwise entitled to use the documents or the information therein to supplement
27
28   allegations of demand futility or to oppose a motion to dismiss;
29
30           WHEREAS, the parties agree that should any of the Defendants seek to dismiss the
31
32   extant Complaint or an amended complaint for failure to make a pre-suit demand on Zillow's
33
34   Board of Directors ("Board"), the demand futility question should be decided based on the
35
36   membership of the Board on the date Plaintiff filed the extant Complaint – January 15, 2013 –
37
38   provided, however, that if an amended complaint containing claims or allegations that are
39
40   materially different than those alleged in the extant Complaint is filed, Defendants reserve their
41
42   right to argue that demand futility should be decided based on the membership of the Board at
43
44   the time the amended complaint is filed;
45
46           WHEREAS, the parties agree that, notwithstanding the stipulated stay of the Action,
47
48   Plaintiff shall be permitted to file: (a) an amended complaint, to which Defendants shall have no
49
50   obligation to respond during the course of the stay, if Plaintiff elects to do so; and (b) any
51
     STIPULATION AND ORDER REGARDING STAY
     OF PROCEEDINGS AND RELATED MATTERS
     (No. CV 13-00091 RSM) – 3
     56920-0142/LEGAL26003191.1
                   Case 2:13-cv-00091-RSM Document 34 Filed 03/13/13 Page 4 of 8




 1
 2   stipulation and/or motion relating to the organization of the Action, including but not limited to
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 4   the appointment of lead plaintiff and/or lead counsel and the consolidation of any future-filed
 5
 6   related actions and Defendants shall be permitted to oppose or otherwise respond to such motion
 7
 8   if Defendants elect to do so;
 9
10            WHEREAS, the parties enter into this stipulation for the purpose of ensuring the orderly
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12   and efficient litigation of the Action in the best interests of Zillow, and not for the purpose of
13
14   delay; and
15
16            WHEREAS, the parties agree that by entering into this Stipulation, the parties do not
17
18   waive any rights not specifically addressed herein.
19
20            NOW, THEREFORE, the parties hereto consent to the form and entry of an ORDER as
21
22   follows:
23
24            1.       All proceedings in this Action are stayed and all response dates are continued
25
26   until:
27
28                     (a)        thirty (30) days after the Securities Action is dismissed in its entirety with
29
30   prejudice;
31
32                     (b)        thirty (30) days after the Court issues an order denying in any part the
33
34   defendants' motion to dismiss the Securities Action; or
35
36                     (c)        such other time as the Court shall order.
37
38            2.       Defendants shall have no present obligation to respond to the Complaint. Within
39
40   thirty (30) days from the date that the order on the motion to dismiss the Securities Action
41
42   becomes final and non-appealable or this stay is otherwise lifted, counsel for the parties shall
43
44   meet and confer to determine a proposed schedule, to be submitted to the Court for approval, for:
45
46                     (a)        Defendants to respond to the Complaint and to file any related briefing; or
47
48                     (b)        Plaintiff to file and serve an amended complaint, and Defendants to
49
50   respond to the amended complaint and to file any related briefing.
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     STIPULATION AND ORDER REGARDING STAY
     OF PROCEEDINGS AND RELATED MATTERS
     (No. CV 13-00091 RSM) – 4
     56920-0142/LEGAL26003191.1
                  Case 2:13-cv-00091-RSM Document 34 Filed 03/13/13 Page 5 of 8




 1
 2           3.       If merits (i.e., not class certification) discovery proceeds in the Securities Action,
 3
 4   then, subject to the terms and conditions set forth herein, Defendants will produce to Plaintiff in
 5
 6   the Action copies of all written document requests, written responses to document requests, and
 7
 8   documents produced to plaintiffs in the Securities Action, in the same manner as those
 9
10   documents are produced to plaintiffs in the Securities Action, within 20 days of production of
11
12   those materials to plaintiffs in the Securities Action, but only provided that:
13
14                    (a)         Documents and information, if any, obtained pursuant to this stipulation
15
16   shall not be used to supplement Plaintiff's allegations of demand futility or to oppose any motion
17
18   to dismiss, including but not limited to any motion to dismiss for failure to make a pre-suit
19
20   demand, absent an order of the Court permitting such use; and
21
22                    (b)         Plaintiff in the Action agrees to abide by the terms of any protective
23
24   order(s) in place in the Securities Action and/or the terms of any protective order(s) in place in
25
26   the Action; and
27
28                    (c)         Plaintiff shall use his best efforts to avoid duplicate discovery requests,
29
30   and seek only information relevant to this Action that was not already produced in connection
31
32   with the Securities Action. If Plaintiff serves discovery requests, Defendants are not obligated to
33
34   produce responsive, non-privileged documents if they have already produced such documents
35
36   pursuant to this Stipulation.
37
38           4.       If there are merits (i.e., not class certification) depositions in the Securities
39
40   Action, counsel for the parties will meet and confer in good faith regarding an agreement to
41
42   permit Plaintiff's participation in those merits depositions and/or for Plaintiff to receive
43
44   transcripts of all such depositions.
45
46           5.       Should any of the Defendants seek to dismiss the extant Complaint for failure to
47
48   make a pre-suit demand on Zillow's Board, the demand futility question should be decided based
49
50   on the membership of the Board on the date Plaintiff filed the extant Complaint – January 15,
51
     STIPULATION AND ORDER REGARDING STAY
     OF PROCEEDINGS AND RELATED MATTERS
     (No. CV 13-00091 RSM) – 5
     56920-0142/LEGAL26003191.1
                  Case 2:13-cv-00091-RSM Document 34 Filed 03/13/13 Page 6 of 8




 1
 2   2013 – provided, however, that if an amended complaint containing claims or allegations that are
 3
 4   materially different than those alleged in the extant Complaint is filed, Defendants reserve their
 5
 6   right to argue that demand futility should be decided based on the membership of the Board at
 7
 8   the time the amended complaint is filed.
 9
10           6.       Notwithstanding the stipulated stay of the Action, Plaintiff shall be permitted to
11
12   file: (a) an amended complaint, to which Defendants shall have no obligation to respond during
13
14   the course of the stay, if Plaintiff elects to do so; and (b) any stipulation and/or motion relating to
15
16   the organization of the Action, including but not limited to the appointment of lead plaintiff
17
18   and/or lead counsel and the consolidation of any future-filed related actions, and Defendants
19
20   shall be permitted to oppose or otherwise respond to such motion if Defendants elect to do so.
21
22           7.       By entering into this Stipulation, the parties do not waive any rights not
23
24   specifically addressed herein.
25
26   DATED: March 6, 2013                            By: s / Ronald L. Berenstain
27                                                       s/ Sean C. Knowles
28                                                       Ronald L. Berenstain, WSBA No. 7573
29                                                       Sean C. Knowles, WSBA No. 39893
30                                                       Perkins Coie LLP
31                                                       1201 Third Avenue, Suite 4900
32                                                       Seattle, WA 98101-3099
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35                                                       Email: rberenstain@perkinscoie.com
36                                                                sknowles@perkinscoie.com
37
38                                                   Attorneys for Defendants Spencer M. Rascoff,
39                                                   Chad M. Cohen, Richard N. Barton, Lloyd D.
40                                                   Frink, David A. Beitel, Greg M. Schwartz,
41                                                   Gregory B. Maffei, Erik Blachford, Gordon
42                                                   Stephenson, J. William Gurley, and Jay C. Hoag,
43                                                   and Nominal Defendant Zillow, Inc.
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     STIPULATION AND ORDER REGARDING STAY
     OF PROCEEDINGS AND RELATED MATTERS
     (No. CV 13-00091 RSM) – 6
     56920-0142/LEGAL26003191.1
                Case 2:13-cv-00091-RSM Document 34 Filed 03/13/13 Page 7 of 8




 1
 2   DATED: March 6, 2013                       By: s/ Shane P. Sanders
 3                                                  Shane P. Sanders (admitted pro hac vice)
 4                                                  Felipe J. Arroyo (admitted pro hac vice)
 5
                                                    Robbins Arroyo LLP
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                                                    Stritmatter Kessler Whelan Coluccio
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16                                                  Brad J. Moore, WSBA No. 21802
17                                                  200 Second Avenue West
18                                                  Seattle, WA 98119
19                                                  Telephone: 206.448.1777
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21                                                  Email: brad@stritmatter.com
22
23
24
                                                Attorneys for Plaintiff
25
26
27
28
29
30
31                                          ORDER
32
33
             It is so ordered.
34
35
36           DATED this 13 day of March 2013.
37
38


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42                                              RICARDO S. MARTINEZ
43                                              UNITED STATES DISTRICT JUDGE
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     STIPULATION AND ORDER REGARDING STAY
     OF PROCEEDINGS AND RELATED MATTERS
     (No. CV 13-00091 RSM) – 7
     56920-0142/LEGAL26003191.1
                Case 2:13-cv-00091-RSM Document 34 Filed 03/13/13 Page 8 of 8




 1   Presented by:
 2
 3   By: s/ Ronald L. Berenstain
 4       s/ Sean C. Knowles
 5
         Ronald L. Berenstain, WSBA No. 7573
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17   Chad M. Cohen, Richard N. Barton, Lloyd D.
18   Frink, David A. Beitel, Greg M. Schwartz,
19   Gregory B. Maffei, Erik Blachford, Gordon
20   Stephenson, J. William Gurley, and Jay C. Hoag,
21
     and Nominal Defendant Zillow, Inc.
22
23
24
     By: s/ Shane P. Sanders
25       Shane P. Sanders (admitted pro hac vice)
26       Felipe J. Arroyo (admitted pro hac vice)
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     STIPULATION AND ORDER REGARDING STAY
     OF PROCEEDINGS AND RELATED MATTERS
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     56920-0142/LEGAL26003191.1
